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FoR THE WESTERN DlsTRIcr oF TENNEssEE
WESTERN DIVISION 95 AUB ~2 PH 5; 1,2
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Piaimiff, 97 lt t-W=!'YH!S
v. No. 05-20142 B
CALVlN MCNARY,
Defendant.

 

ORDER STRlK]NG FROM THE DOCKET
DEFENDANT'S AUGUST 1, 2005 PRO §§ FILING

 

On July 20, 2005, the Court, for the second time, dismissed a p_r_Q g motion filed by the
Defendant, Calvin McNary, Who is represented by counsel.l Bet`ore the Court is a third p_r_Q g
motion filed by the Defendant on August l, 2005. ln its July 20 order, the Court admonished the
Defendant that "further }LQ _s_e_ filings While he is represented Will be stricken from the Court's
docket.“ (Order Denying Defendant's m §§ "Motion to Disrniss for Lack of Prosecution“ at l.)
Accordingly, as it appears from the Court's tile that counsel has not been terminated, the Defendant‘s

August l, 2005 filing is hereby STRICKEN from the docket.

 

1§§§ LR83. l(d), Local Rules of the U.S. Dist. Ct. for the W. Dist. of Tenn. ("[a] party
represented by counsel Who has appeared in a case may not act on his or her own behalf unless
that party’s attorney has obtained leave of the court to Withdraw as counsel of record, provided
that the court may, in its discretion, hear a party in open court, notwithstanding the fact that the
party is currently represented by counsel of record.")

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With Flule 55 and;’or 32{'0) FP\CrP on

Case 2:05-cr-20142-.]DB Document 59 Filed 08/02/05 Page 2 of 3 Page|D 59

IT lS SO ORDERED this Z`Qday of August 2005.

dba

L§,§IEL BREEN
IT MD STATES DISTRICT \JUDGE

UNITED sTATE D"isiC COURT - WESTERN D's'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

